                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DMSION

                                      No. 7:99-CR-49-02-Fl
                                        NO.7:03-CV-24-F


JAMES LARRY BELLAMY,                          )
                Petitioner,                   )
                                              )
               v.                             )                      ORDER
                                              )
UNITED STATES OF AMERICA,                     )
                 Respondent.                  )



       On March 31,2009, the undersigned entered an order [DE-254] denying James Larry

Bellamy's § 2255 motion [DE-222], and allowing the Government's motion to dismiss [DE­

228]. Judgment [DE-255] thereon was entered on the same date.

       Bellamy appealed [DE-259] the order on July 27, 2009, and this court denied his motion

for certificate of appealability [DE-262]. On December 30, 2009, the Fourth Circuit Court of

Appeals issued its unpublished opinion [DE-266] also denying a certificate of appealability and

dismissing Bellamy's appeal. Judgment thereon issued on January 5,2010 [DE-267].

       On February 5,2010, Bellamy filed a motion for "Relief from a Judgment or Order

Under Rule 60(b)(3), (d)(3), FED. R. Crv. P." [DE-272], in which he alleges that he has evidence

that the prosecutor and federal agents committed a fraud on the court in the trial against him.

Specifically, he alleges that the prosecutor and the case agent lied on four different occasions in

representing that Bellamy consented to a search of his residence when, in fact, he had ordered

them to leave. His brother and co-defendant Claude filed the same motion on January 25, 2010

[DE-268], and it was denied by order [DE-269] the following day.




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       The undersigned denied Bellamy's February 5th Rule 60(b) motion without prejudice for

him to seek authorization from the Fourth Circuit Court of Appeals to file a successive § 2255

motion. See [DE-273]. Bellamy appealed that order which was affirmed by unpublished

opinion in United States v. Bellamy, No. 10-6398 (4 th Cir. June 28, 2010) [DE-282] (dismissing

the appeal and denying a certificate of appealability. The appellate court also construed

Bellamy's notice of appeal and informal brief as an application to file a second or successive §

2255 motion, and denied motion that motion as well. See id.

       The instant motion, styled, "Motion for Relief from a Judgment or Order Federal Rules

of Civil Procedure 60-B(3)(4)" [DE-288], like the similarly-named motion of February 5, 2010

[DE-272], again claims that the prosecuting Assistant United States Attorney knowingly

presented the perjured testimony of the FBI case agent to state and federal magistrates in order

to obtain search warrants, to the federal grand jury and to the petit jury at trial. He seeks relief

from his conviction and sentence on grounds his Fourth and Fifth Amendment rights were

violated.

       For the same reasons set forth in this court's February 8, 2010 order [DE-273], and the

Fourth Circuit's June 28, 2010, opinion [DE-282], Bellamy's Motion for Relieffrom Judgment

[DE-288] is DENIED. A certificate of appealability also is DENIED.

       SO ORDERED.
                         .J
       This, the    ~ \ /' day of July, 2010.




                                                      J    ES C. FOX
                                                      S    or United States District Judge




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